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                                    CURRICULUM VITAE
Terence George Young
570 Croyden Lane
Cambria, CA 93428
626-716-5927 (cell)
tgyoung@cpp.edu
www.cpp.edu/~tgyoung

POSITIONS HELD

Academic

2020 – present – Professor Emeritus of Geography, Department of Geography & Anthropology,
California State Polytechnic University, Pomona, California 91768

2011 – 2020 – Professor of Geography, Department of Geography & Anthropology (and Adjunct
Professor, Lyle Center for Regenerative Studies through 2013), California State Polytechnic University,
Pomona, California 91768

2006 – 2011 - Associate Professor of Geography, Department of Geography & Anthropology and Adjunct
Associate Professor, Lyle Center for Regenerative Studies, California State Polytechnic University,
Pomona, California 91768

2002 – 2006 - Assistant Professor of Geography, Department of Geography & Anthropology and Adjunct
Assistant Professor, Lyle Center for Regenerative Studies, California State Polytechnic University,
Pomona, California 91768

2001 – 2002 - Visiting Assistant Professor, Department of Geography, California State University, Long
Beach, California 90840 (renewable)

2001 – 2002 - Research Assistant Professor, Department of Geography, University of Southern
California, Los Angeles, California 90089

2000 – 2001 - Visiting Lecturer, Department of Geography, University of California, Los Angeles,
California, 90095 (Spring Quarter each year)

1999 – 2000 - Visiting Lecturer, Department of Geography, University of Southern California, Los
Angeles, California 90089 (Fall Semester each year)

1992 – 1999 - Assistant Professor of Geography, Department of History and Adjunct Assistant Professor,
Department of Parks, Recreation, and Tourism Management, Clemson University, South Carolina 29634
(On leave 1995-1997)

1998 - Visiting Lecturer, Departments of Geography, George Washington University, Washington, D.C.
20052 and Mary Washington College, Fredericksburg, Virginia 22401

1992 - Visiting Lecturer, Department of Geography, University of California, Los Angeles 90095


Research

2000 – 2001 - Research Associate, Sustainable Cities Program, University of Southern California, Los
Angeles

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Administration

2001 – 2002 - Project Manager, Sustainable Cities Program, University of Southern California, Los
Angeles

1996 – 1997 - Acting Director, Studies in Landscape Architecture, Dumbarton Oaks Library and Research
Center, Harvard University, Washington, DC 20007

Consulting

2013 – 2015 – “Geographies of Wonder: Americans and the National Park Idea,” an exhibit celebrating
the centennial of the US National Park Service, Peter Blodgett, curator, Huntington Library & Collections,
San Marino, CA

2008 – Present - “City of White Gold,” A documentary on San Francisco in the Silver Age, Geordie
Lynch, independent filmmaker, 218 Larkspur Plaza Drive, Larkspur, CA 94939 (A trailer and more
information is available at: http://www.cityofwhitegold.com)

1999 – 2000 - California League of Conservation Voters-Education Fund, 10780 Santa Monica Blvd.,
Suite 210, Los Angeles, CA 90025

EDUCATION

Ph.D. - University of California, Los Angeles, 1991 (Cultural-Historical Geography)
M.A. - University of California, Los Angeles, 1987 (Biogeography)
B.A. - University of California, Berkeley, 1973 (Anthropology)

PUBLICATIONS

Periodicals – In Print

2021 – “From Competition to Cooperation: A History of Canada-US National Park Relations” Environment
and History 27(4): 607-634 (co-authored with Alan MacEachern and Lary Dilsaver)

2018 – “Murray’s Rush: The Adirondack Beginning of American Camping” NY Archives Magazine 18(1):
11-17

2014 – “The End of Camping: Coming Home to the City” BOOM: A Journal of California 4(3): 70-75

    – “’Green and Shady Camps’: E.P. Meinecke and the Restoration of America’s Public Campgrounds”
The George Wright Forum 31(1): 69-76

2011 – “Collecting and Diffusing ‘the World’s Best Thought’: International Cooperation by the National
Park Service” The George Wright Forum 28(3): 269-278 (co-authored with Lary Dilsaver)
2010 – “On Camping and Its Equipment” Environmental History 15(1, January 2010): 120-128

2009 – “’A Contradiction in Democratic Government’: W.J. Trent, Jr. and the Struggle for Non-Segregated
National Park Campgrounds” Environmental History 14(4, October 2009): 651-682

2008 – “Four Visions of Nature in American Protected Areas” Past Place 16(2, Spring/Summer): 8-10
(Newsletter of the Historical Geography Specialty Group, Association of American Geographers)

2007 – “U.S. Parks and Protected Areas: Origins, Meanings and Management” Historical Geography 35:

                                                                                                             2
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5-9 (co-authored with Lary Dilsaver)

2006 – “German Influences on San Francisco’s Nineteenth-Century Greenspace” Die Gartenkunst 18(1):
69-80

2006 – “False, Cheap and Degraded: When History, Economy, and Environment Collided at Cades Cove,
Great Smoky Mountains National Park” Journal of Historical Geography 32(1): 169-189

2001 - “Place Matters” Annals of the Association of American Geographers 91(4): 681-682 (This is the
introduction to a “Forum” of papers I originally organized at the 1998 meeting of the Association of
American Geographers in Boston.)

     - “Moral Order, Language, and the Failure of the 1930 Recreation Plan for Los Angeles County”
Planning Perspectives 16(4): 333-356

2000 - “Belonging not Containing: The Vision of Bioregionalism” Landscape Journal 19(1): 46-49

2000 - “Camping In America: From 1869 to the Present” Arroyo View 12(2): 9

1998 - "From Manure to Steam: The Transformation of Greenhouse Heating In the United States, 1870-
1900" Agricultural History 72(3): 574-596

1996 - "Social Reform Through Parks: The American Civic Association's Program for a Better America"
Journal of Historical Geography 22(4): 460-472

1995 - "Modern Urban parks" Geographical Review 85(4): 544-560

     - "`I am my own authority': the landscape gardening of William Frederick Poppey" Journal of Garden
History 15(4): 226-230

     - "Modern Cities and Nature" The Society for Philosophy and Geography Newsletter 1(2): 4-5

1994 - "Trees, The Park, and Moral Order: The Significance of Golden Gate Park's First Plantings"
Journal of Garden History 14(3): 158-170

1993 - "San Francisco's Golden Gate Park and the Search for a Good Society, 1865-1880" Forest and
Conservation History 37(1): 4-13

Periodicals – Online

2022 – “Outdoor Imaginaries: The Emergence of Camping in Modern America” Mondes du Tourisme 21:
http://journals.openedition.org/tourisme/4790

2020 – “Pandemics & Public Lands” National Parks Traveler (August 26):
https://www.nationalparkstraveler.org/2020/08/essay-pandemics-public-lands

2018 – “E.P. Meinecke and the Development of the Modern Auto Campground” IdeAs - Idées
d'Amériques 12(Automne/Hiver): https://journals.openedition.org/ideas/3502

       – “Why Americans Invented the RV” in What It Means to be American: A Conversation Hosted by
the Smithsonian and Arizona State University (September 4). Available at:
http://www.zocalopublicsquare.org/2018/09/04/americans-invented-rv/ideas/essay/

2017 – “The Religious Roots of America’s Love for Camping” What It Means to be American: A
                                                                                                       3
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Conversation Hosted by the Smithsonian and Arizona State University (October 12). Available at:
http://www.whatitmeanstobeamerican.org/encounters/the-religious-roots-of-americas-love-for-camping/

2003 – “It’s Not As Complicated As People Think” LA Forum for Architecture and Urban Design Online
Newsletter 5: Constructing Nature (Spring 2003). Available at:
http://www.laforum.org/programs/pub/forum_issue_5_parks

Periodical – Special Issue Edited

2007 – “US Parks and Protected Areas” for Historical Geography 35: 5-213 (co-edited with Lary Dilsaver)

2000 - “Bioregionalism and Its Influence in Europe and the United States” for Landscape Journal 19(1,
Spring): 46-88

Books – Authored

2017 – Heading Out: A History of American Camping, Cornell University Press (Winner of the American
Association of Geographers’ J.B. Jackson Prize for 2018; Winner of the Western History Association’s Hal
K. Rothman Prize for 2018)

2004 – Building San Francisco’s Parks: 1850-1930, The Johns Hopkins University Press

Books – Edited

2002 - The Landscapes of Theme Parks: Antecedents and Variations, Terence Young and Robert Riley,
eds., Dumbarton Oaks Library and Research Center Press

Reports – Authored

2000 - Creating Community Greenspace: A Handbook for Developing Sustainable Open Spaces in
Central Cities, The California League of Conservation Voters-Education Fund: Los Angeles, CA

Book Chapters

2018 – “Frederick Law Olmsted’s Abandoned San Francisco Park Plan” in The American Environment
Revisited: Environmental Historical Geographies of the U.S. (Lanham: Rowman & Littlefield), 145-160

2014 – “The Passionate Geographer” in North American Odyssey: Historical Geographies for the Twenty-
first Century (Lanham: Rowman & Littlefield), 315

2008 – “Urban Parks, Leisure and the Good Society” in Loisir et Liberté en Amérique du Nord, P.
Lagayette, Editor (Paris: Université Paris-Sorbonne, Paris IV), 59-71

2006 – “Four Visions of Nature Conservation and Democracy in the United States” in Naturschutz und
Demokratie!?, J. Wolschke-Bulmahn and G. Groening, Editors (Hannover, Germany: Centre of Garden
Art + Landscape Architecture), pp. 215-220

2004 - ‘Historical Geography of the Environment’ in Geography in America at the Dawn of the 21st
Century, C. Wilmott and G. Gaile, Editors (NY: Oxford University Press), pp. 153-154

2002 - “Grounding the Myth: Theme Park Landscapes in an Era of Commerce and Nationalism” in The
Landscapes of Theme Parks: Antecedents and Variations, T. Young and R. Riley, Editors. (Washington:
Dumbarton Oaks Library and Research Center), pp. 1-10

2002 - “Virtue and Irony in a U.S. National Park” in The Landscapes of Theme Parks: Antecedents and
                                                                                                          4
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Variations, T. Young and R. Riley, Editors. (Washington: Dumbarton Oaks Library and Research Center),
pp. 155-179

1999 - “Confronting Sustainability” in Sustainable Landscape Design In Arid Climates, William O’Reilly,
Ed. (Geneva: The Aga Khan Trust for Culture), pp. 6-9
Encyclopedia Entries:

2001 -“Urban Parks” in The Oxford Companion to United States History, P. Boyer, Editor In Chief (New
York: Oxford University Press), p. 582

1998 - "Golden Gate Park" in Encyclopedia of Urban America: Cities and Suburbs, Two Volumes, N.L.
Shumsky, editor (ABC-Clio Publishing), p. 328

Book Reviews:

2021 – Camping Grounds: Public Nature in American Life from the Civil War to the Occupy Movement by
Phoebe S.K. Young for H-Environment, URL: https://www.h-net.org/reviews/showrev.php?id=56824

2018 – On the Trail: A History of American Hiking by Silas Chamberlin for Agricultural History 92(3): 439-
440

2017 – Trout Culture: How Fly Fishing Forever Changed the Rocky Mountain West by Jen Corrinne
Brown for Environmental History 22: 180-182

2015 – Inventing Stanley Park: An Environmental History by Sean Kheraj for Pacific Historical Review 84:
97-98

2014 – Vacationland: Tourism and Environment in the Colorado High Country by William Philpott for
Environmental History 19: 589-590

2013 – Observation Points: The Visual Poetics of National Parks by Thomas Patin, Ed. for Journal of
Historical Geography 42: 220

2011 – Campsite: Architecture of Duration and Place by Charlie Hailey for Geographical Review 101(3):
467-469

     – Pilgrims of the Vertical: Yosemite Rock Climbers and Nature at Risk by Joseph E. Taylor III for
Journal of Historical Geography 37: 511-512

2010 – A Marvelous Hundred Square Miles: Black Hills Tourism, 1880-1941 by Suzanne Barta Julin for
Environmental History 15(4): 788-789

2008 – National Park, City Playground: Mount Rainier National Park in the Twentieth Century by
Theodore Catton for Environmental History 13(2): 376-377

2007 – The Invention of the Park: From the Garden of Eden to Disney’s Magic Kingdom by Karen R.
Jones and John Wills for Journal of Cultural Geography 24(2): 113-114

2006 – Cumberland Island National Seashore: A History of Conservation Conflict by Lary M. Dilsaver for
Geographical Review 96(2): 322-325.

2004 – Republic of Shade: New England and the American Elm by Thomas J. Campanella for
Environmental History 9(4): 741-2

2001 - Enduring Roots: Encounters with Trees, History, and the American Landscape by Gayle
                                                                                                          5
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Brandow Samuels for Planning Perspectives 16(4): 409-410

2001- The Los Angeles River: Its Life, Death, and Possible Rebirth by Blake Gumprecht for Technology
and Culture 42(2): 361-363

    - How the Canyon Became Grand by Stephen Pyne for Professional Geographer 53(1): 132-134

2000 - The World of André Le Nôtre by Thierry Mariage for Geographical Review 90(3): 133-34

1997 - Invented Cities by Mona Domosh for Annals of the Association of American Geographers 87(3):
539-540

1996 - Southern California Gardens by Victoria Padilla for Journal of Garden History 16(3): 225-226

1995 - The American Environment: Interpretations of Past Geographies, edited by Lary M. Dilsaver and
Craig E. Colten for Journal of Historical Geography 21(1): 105-107

    - The Ecological City: Preserving and Restoring Biodiversity, edited by Rutherford H. Platt, Rowan A.
Rowntree, and Pamela C. Muick for The Annals of the Association of American Geographers 85(2): 395-
397

    - Geography and the Human Spirit by Anne Buttimer for Environment and Planning A 27(11): 1865-
1866

1993 - Hard Places: Reading the Landscape of America's Historic Mining Districts by Richard V.
Francaviglia for Technology and Culture 34: 422-424

Websites-Co-authored:

2004 – “Pomona Valley: Assessing Natural Boundaries and Greenspace” by Montgomery McIntosh,
Terence Young, and Richard Worthington at
http://www.csupomona.edu/~tgyoung/Pomona_valley/pvindex.htm

EXHIBITS CURATED

1997 - “Urban Parks in America” Studies In Landscape Architecture, Dumbarton Oaks, Washington DC

1996 - “Le Jardin d’Anglais” Studies In Landscape Architecture, Dumbarton Oaks, Washington DC

TELEVISION APPEARANCES

2000 - “Camping Technology” on Modern Marvels, The History Channel, June 5.

RADIO APPEARANCES

2011 – Discussant about “The Parks of San Francisco: What’s in Store for our Urban Oases” on “City
Visions Radio” at KALW – 91.7 FM, San Francisco, California, January 24

PODCASTS

2021 – “William Coffin Coleman and The History of the Coleman Company” on The RV Atlas, June 25,
available at: https://thervatlas.com/podcast/william-coffin-coleman-and-the-history-of-the-coleman-
company/

2020 – “Pandemics & the National Parks” on National Parks Traveler, August 23, available at:
                                                                                                       6
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https://www.nationalparkstraveler.org/podcast/2020-08-23-national-parks-traveler-episode-80-pandemics-
and-national-parks

2019 – “Heading Out: A History of American Camping” on Writing Westward Podcast, March 8, available
at: http://reddcenter.byu.edu/Blogs/redd-center-blog/Post/writing-westward-podcast-episode-007---terenc

2017 – “Heading Out: The History of Camping” on The Art of Manliness, August 3, available at:
http://www.artofmanliness.com/2017/08/03/podcast-327-heading-history-camping/


ADMINISTRATION

2000-2002 - Project Manager, Environmental Sciences, Policy and Engineering Sustainable Cities
Program, University of Southern California, Los Angeles. I was responsible for the administration and
timely completion of “Toward a Sustainable Los Angeles: ‘A Nature Services’ Approach,” a $380,000
grant to investigate the applicability of an environmental GIS (CITYgreen) to the urbanized landscape of
Southern California as well as its usefulness as a tool in Public Participation Planning in an older, densely
populated, ethnically diverse neighborhood. Funding came from the Haynes Foundation of Los Angeles.

1996-1997 - Acting Director, Studies in Landscape Architecture, Dumbarton Oaks, Harvard University.
This research program is one of three at Dumbarton Oaks. It is international in scope with its focus on
the critical and historical study of landscape. I was responsible for the department to Dumbarton Oaks’s
Director. Among other things, my duties included public and professional contacts, supervising a staff of
four (two librarians, an administrative assistant, and a departmental assistant), selecting and supervising
research fellows, public and professional outreach, budgeting, purchase of more than 900 rare and
contemporary monographs, treatises, prints, and journals, developing museum exhibitions, organizing
and moderating four one-day conferences (one in collaboration with the National Gallery and the Aga
Khan Trust for Culture, and one with the American Institute for Contemporary German Studies) and one
two-day conference, and editing a scholarly monograph of the presentations at the two-day conference.

TEACHING

Undergraduate:
Biogeography
California
Cultural Geography
Cultural Geography of the Environment
Ethnicity in the American City
Environmental Geography
Geographical Foundations (History and Philosophy of Geography)
Geography of Cultural and Historical Landscapes
Geography of US and Canada
Geography of World Cities
Historical Geography (Upper-Division introductory course)
Historical Geography: Diffusion of Europeans and their Environments
Introduction to Geography (Physical and Human)
Introduction to Human Geography
Introduction to Cultural Geography
Introduction to Physical Geography
Parks and Protected Areas
Protected Areas in a Regenerative World (Regenerative Studies Program)
Tourism in a Globalizing World
Urban Geography
World Regional Geography

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Graduate:
Historical Geography of the United States
Protected Areas in a Regenerative World (Regenerative Studies Program)
Regenerative Concepts and Social Practices (Regenerative Studies Program)
Topics in Geography: Camping in America
Urban Geography: Utopianism in American Urban Planning

Post-graduate:
US National Parks, Forests and other protected areas – An Overview
Social & Legislative Aspects of US National Parks & Forests

2005 – “Sustainable Tourism” at School for Hospitality and Tourism, Bulawayo Polytechnic University,
Bulawayo, Zimbabwe, May 2-4

AWARDS & GRANTS

Awards

2018 – J.B. Jackson Prize from the American Association of Geographers for Heading Out: A History of
American Camping published by Cornell University Press

     - Hal K. Rothman Prize from the Western History Association for Heading Out: A History of
        American Camping published by Cornell University Press

Fellowships

2005-2006 – Lyle Center Faculty Fellowship, California State Polytechnic University, Pomona ($4,500)

2001 - Huntington Fellowship, The Huntington Library, Art Collections, and Botanical Gardens, San
Marino, CA (five months @ $2,000/mo.)

1999 - W. M. Keck Foundation and Andrew W. Mellon Foundation Fellow, The Huntington Library, Art
Collections, and Botanical Gardens, San Marino, CA (two months @$2,300/mo.)

1995-1996 - Postdoctoral fellow, National Museum of American History, Smithsonian Institution,
Washington, DC (twelve months)

1991-1992 - Postdoctoral fellow, Dumbarton Oaks Library and Research Center, Harvard University,
Washington, DC (Fall Semester)

Grants

2021 – California State University Emeritus and Retired Faculty & Staff Association, Research Grant of
$600.00 for Travel to Washington, DC. Title: “The African Student Program, 1961-1969.”

2013 – Association of American Geographers, Research Grant of $1,000.00 for travel to Washington, DC
and Yellowstone National Park. Title: “US National Park Service Cooperation with Canada and In Africa.”

2008 – 2018 – US National Park Service, Park History Program, Washington, DC – Volunteers in Parks
Program – $4,600.00 and continuing for travel and research expenses. Titles: “International Cooperation
and the National Park Service” and “Yosemite State Park and the US National Parks”

2008-2009 - California State Polytechnic University – Pomona, Research, Scholarship, and Creative
Activities Grant of $4,736.00 for one course release to compose a scholarly article for a journal
Environmental History. Title: "The Smooth Way to Rough It: Pilgrimage, McDonaldization and the Evolution of
                                                                                                              8
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Camping Equipment."

2008-2009 - California State Polytechnic University – Pomona, Faculty Professional Development Mini-
grant of $400.00 to travel to a conference: American Society for Environmental History, Presentation title:
“’A Clearer Picture of this Country’: Airstream Trailers and the (Re)Discovery of America”

2007-2008 – California State Polytechnic University – Pomona, International Center Faculty Travel Grant
of $1,000.00 to travel to a conference: Common Ground, Converging Gazes: Integrating the Social and
Environmental in History in Paris, France, Presentation title: “Going Home to Wilderness: Nature,
Camping and American Sustainability”

2007-2008 - California State Polytechnic University – Pomona, Faculty Professional Development Mini-
grant of $600.00 to travel to a conference: Designing the Parks, Presentation title: “E.P. Meinecke and the
Modernization of Autocamping”

2005-06 - California State Polytechnic University – Pomona, Faculty Professional Development Mini-grant
of $1,250.00 to support research travel, Title: “William J. Trent, jr. and The Struggle to Eliminate
Segregated Campgrounds in U.S. National Parks.”

2006 – Benson Ford Research Center, The Henry Ford, Dearborn, MI – Clark Travel to Collections Grant
of $1,200.00 to support travel to and research at the Research Center.

2005 – The Adirondack Museum, Blue Mountain Lake, NY – Warder and Julia Cadbury Research Grant
of $1,500.00 and housing to support travel to and research at the museum.

2004-05 - California State Polytechnic University – Pomona, Faculty Professional Development Mini-grant
of $2,000.00 to support research travel, Title: “William H.H. Murray and the origins of American camping.”

2004-05 - California State Polytechnic University – Pomona, Research, Scholarship, and Creative
Activities Mini-grant of $4,276.00, Title: “The Garage in the Forest: E.P. Meinecke and the Origin of the
Auto Campground.”

2003-04 - California State Polytechnic University – Pomona, Faculty Professional Development Mini-grant
of $800.00 to support research travel, Title: “E.P. Meinecke’s Modern Auto Campground”

2002-03 - California State Polytechnic University – Pomona, Faculty Professional Development Mini-grant
of $560.00 to support research travel, Title: “A Campground Policy: E.P. Meinecke and the Development
of the American Campground”

2002-03 - California State Polytechnic University – Pomona, Academic Affairs Research Mini-grant of
$3,568.00, Title: “Culture, History, & Environmental Management in a U.S. National Park”

2003 – Pomona College – Mellon Professional Activities Grant of $2,900.00, Title: “Pomona Valley
Greenspace”

1999 - Association of American Geographers Research Grant of $500.00 for field photographs. Title:
"Camping in America.”

1998 - An Association of American Geographers Annual Meeting Enrichment Grant of $400.00 to defray
the participation expenses of Professor Edward Casey (Philosophy, SUNY-Stony Brook) in the Annual
Meeting of the AAG in Boston, Massachusetts

     - A Cultural Geography Specialty Group (AAG) Grant of $250.00 to defray the participation
expenses of Professor Edward Casey (Philosophy, SUNY-Stony Brook) in the Annual Meeting of the
AAG in Boston, Massachusetts
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     - An Historical Geography Specialty Group (AAG) Grant of $250.00 to defray the participation
expenses of Professor Edward Casey (Philosophy, SUNY-Stony Brook) in the Annual Meeting of the
AAG in Boston, Massachusetts

1997 - A Graham Foundation Grant of $5,875.00 for travel, map production, photo reproduction, and
permissions in preparation for the publication of Building San Francisco’s Parks, 1850-1930

1994 - A National Endowment for the Humanities Faculty Development Grant of $544.00 for travel to
present a paper at the biannual meeting of the American Society for Environmental History in Las Vegas,
Nevada

     - Association of American Geographers Research Grant of $500.00 for travel to collections and
photo reproductions. Title: "The American Civic Association and the U.S. National Parks, 1900-1940"

1993 - A National Endowment for the Humanities Faculty Development Grant of $1,000.00 for electronic
database searches, photo reproductions and travel to collections. Title: "The American Civic Association
and the U.S. National Park Service, 1900-1940"

      - A National Endowment for the Humanities Faculty Development Grant of $1,527.00 to travel to
collections. Title: "Country for the City: The Urban Motivations for National Parks"

     - Clemson University Teaching Award Grant of $1,860.00 to purchase equipment for Geography
laboratories

1992 - Clemson University Library Grant of $1,200.00 for Humanities Acquisitions in Geography

Sabbatical Leave

2013-2014 – California State Polytechnic University, Pomona to research and write three professional
articles about wilderness and international cooperation

2006-2007 – California State Polytechnic University, Pomona to research and write Heading Out:
American Camping Since 1869

CONFERENCES ORGANIZED

1998 - “Environmentalism in Landscape Architecture,” a two-day symposium at Dumbarton Oaks,
Washington DC

    - “Designing Nature: Landscape Architecture in the U.S. National Parks” a one-day conference at
Dumbarton Oaks, Washington, DC

     - “Modernism and the Pastoral” a one-day conference at Dumbarton Oaks, Washington, DC

1997 - “Perspectives on the Study of Garden History,” a two-day symposium at Dumbarton Oaks,
Washington DC

    - “The Landscapes of Suburbia” a one-day conference at Dumbarton Oaks, Washington, DC

     - “Bioregionalism and Its Influence in Europe and the United States” a one-day conference at
Dumbarton Oaks, Washington, DC (co-organized with the American Institute for Contemporary German
Studies, Washington, DC)

    -“Landscape Architecture and the Health of the Public” a one-day conference at Dumbarton Oaks,
                                                                                                       10
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Washington, DC

1996 - “Sustainable Landscape Design in Arid Climates” a one-day roundtable at Dumbarton Oaks,
Washington, DC (co-organized with The Center for Advanced Studies in the Visual Arts/National Gallery
of Arts, Washington, DC and the Aga Khan Trust for Culture, Geneva, Switzerland)

PRESENTATIONS

Papers:

2022 – Annual Meeting of the Association of Pacific Coast Geographers, Bellingham, WA, ?????:
AFRICAN STUDENT PROGRAM OUTCOMES? WHO AFFECTED…

      – Annual Meeting of the European Society for Environmental History, Bristol, UK, July 4: “’Nature is
not something optional’: Essentialism and the History of American Urban Greening” (presented via Zoom)

     – Annual Meeting of the American Society for Environmental History, Eugene, OR, March 26: “An
Appreciation for Conservation and Wildlife Management”: The National Park Service’s African Student
Program, 1961-1965”

     – Annual Meeting of the American Association of Geographers, New York, NY, February 25: “The
Potential African Leaders of Tomorrow”: The National Park Service’s African Student Program, 1961-
1965 (presented via Zoom)

2021 – Annual Meeting of the American Association of Geographers, Seattle, WA, April 8: “Essential
Nature: Biophilia and the Greening of American Cities” (presented via Zoom)

2019 – Annual Meeting of the Western History Association, Las Vegas, Nevada, Friday, October 18: “’To
Keep in Touch with the Real America’: The Wally Byam Foundation’s Trailer-Camping Program of
National Discovery and Re-Discovery”

2018 – Annual meeting of the American Association of Geographers, New Orleans, LA, April 10: “’Nature
is not something optional’: Biophilia, Essentialism, and the Greening of American Cities”

      – Annual meeting of the American Society for Environmental History, Riverside, CA, March 17:
“’Nature is not something optional’: Biophilia, Essentialism, and the Greening of American Cities”

2017 – Annual meeting of the Association of Pacific Coast Geographers, Chico, CA, October 27: “‘The
Most Elaborate and Valuable Apparatus’: Transnational Politics and the Linking of Canadian and American Park
Agencies”

    – Annual meeting of the American Association of Geographers, Boston, MA, April 7: Roundtable in
honor of Nicholas Entrikin

    – Annual meeting of the American Association of Geographers, Boston, MA, April 7: “For what did
Lavoy Finicum die?”

    – Biennial meeting of the George Wright Society, Norfolk, VA, April 3: “Yosemite and the Origins of
America’s National Parks”

2016 – Annual meeting of the Association of Pacific Coast Geographers, Portland, OR, October 7:
“Yosemite and the Origins of America’s National Parks”

     – Annual meeting of the American Association of Geographers, San Francisco, CA, April 1: “In

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Media Res: California as National Park-State Park Intersection”

2015 – Annual meeting of the Association of Pacific Coast Geographers, Palm Springs, CA, October 23:
“Christian Nationalism and the Antimodern Origins of the Pacific Crest Trail”

     – Triennial meeting of the International Conference of Historical Geographers, London, United
Kingdom, July 6: “Frederick Law Olmsted’s Abandoned San Francisco Park Plan”

      – Biennial meeting of the George Wright Society, Oakland, CA, March 30: “Renewing Our Faith and
Ideals: Christian Nationalism and the Origins of the Pacific Crest Trail”

      – Annual meeting of the American Society for Environmental History, Washington, DC, March 21:
“’An Outstanding Feature of Our Relations’: The Melding of Canadian and US Park Management after World War II”

2013 – Annual meeting of the Association of American Geographers, Los Angeles, CA, April 9: “’To Think
and Feel and Become Sanctified’: Camping as American Pilgrimage”
     – Biennial meeting of the George Wright Society, Denver, CO, March 11: “’The Illusion of Wildness’
in America’s Automobile Campgrounds”

2012 – Annual meeting of the Association of American Geographers, New York, NY, February 25: “’The
Cord that Binds the Necklace’: The Development and Meaning of the Pacific Crest Trail”

2011 – Annual meeting of the Association of Pacific Coast Geographers, San Francisco, CA, October 1:
“Renewing Our Faith and Ideals: Pacific Crest Trail as Sacred Path”

     – Biennial meeting of the European Society for Environmental History, Turku, Finland, June 28:
“Exporting Yellowstone: The Office of International Affairs and the US National Park Service’s Diffusion of
Park Management around the World”

    – Annual meeting of the American Society for Environmental History, Phoenix, AZ, April 17: “’I Am
Especially Interested in Yellowstone and Glacier’: NPS Interactions with Canada and the World”

    – Annual meeting of the Association of American Geographers, Seattle, WA, April 13: “’I Am
Especially Interested in Yellowstone and Glacier’: Diffusing America’s National Park Management to
Canada and the World”

     – Biennial meeting of the George Wright Society, New Orleans, LA, March 15: “Exporting
Yellowstone: The Office of International Affairs and the US National Park Service’s Diffusion of Park
Management around the World”

2010 – Annual meeting of the Association of American Geographers, Washington, DC, April 16: “The
Authenticity of Backpacking”

     – Annual meeting of the American Society for Environmental History, Portland, OR, March 11:
“Backpacking as Authentic Reconnection to Nature”

2009 – Annual meeting of the Social Science History Association, Long Beach, CA, November 12:
“Smoothing Out the Roughness: McDonaldization and the Evolution of Camping Equipment”

      – Faculty Seminar in Regenerative Studies, John T. Lyle Center for Regenerative Studies,
California Polytechnic State University – Pomona, November 7: “In Gaia’s Garden: Reflections on John
Lyle’s Approach to Protected Areas”

    – Annual meeting of the Association of Pacific Coast Geographers, San Diego, CA, October 2:
“Smoothing Out the Roughness: Modernity and the Development of Camping Equipment”
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      – Annual meeting of the Association of American Geographers, Las Vegas, NV, March 24: “’A
Clearer Picture of this Country’: Trailering to (Re)Discover America”

      – Annual meeting of the American Society for Environmental History, Tallahassee, FL, February 26:
“’A Clearer Picture of this Country’: Airstream Trailers and the (Re)Discovery of America”

2008 – Common Ground, Converging Gazes: Integrating the Social and Environmental in History, École
des Haute Études en Sciences Sociales, Paris, France, September 12: “Going Home to Wilderness:
Parks, Camping and a Sustainable American Society”

     – Annual meeting of the Association of American Geographers, Boston, MA, April 18: “’A
Contradiction in Democratic Government’: W.J. Trent and the Struggle to Desegregate National Park
Campgrounds”


      – Annual meeting of the American Society for Environmental History, Boise, ID, March 14:
“Liberalizing Local Society: W.J. Trent, Jr. and the Fight to Desegregate National Park Campgrounds”

2007 – Annual meeting of the Association of Pacific Coast Geographers, Long Beach, CA, October 20:
“Seeing God in the Original: William H.H. Murray and the Origin of American Camping”

2006 – Trienniel meeting of the International Conference of Historical Geographers, Hamburg, Germany,
August 22: “To See God in the Original: William H.H. Murray and the Origins of American Camping”

      – Annual meeting of the Association of American Geographers, Chicago, IL, March 10: “Practical
Pilgrimage: How W.H.H. Murray Opened the Adirondacks to Tourism”

2005 – Annual Meeting of the American Society for Environmental History, Houston, TX, March 19:
“Going ‘Home’ to Wilderness: The Logic of American Camping”

2004 – Nature Conservation and Democracy?!, Zentrum fur Gartenkunst + Landschaftsarchitektur,
Universitat Hannover, Konigswinter, Germany, November 19: “Scene, Setting, System, and Story: Four
Visions of Nature Conservation and Democracy in the United States”

      - Leisure and Liberty, Universite Paris Sorbonne, Paris France, November 13: “Urban Parks,
Leisure and the Good Society”

     - Annual Meeting of the American Society for Environmental History, Victoria, BC, April 2: “The
Garage in the Forest: E.P. Meinecke and the Modern Auto Campground”

     - Annual Meeting of the Association of American Geographers, Philadelphia, PA, March 19: “E.P.
Meinecke and the Modern Auto Campground”

2003 – Annual Meeting of the Association of American Geographers, New Orleans, LA, March 5:
“Camping, A Pilgrimage to Nature”

2002 – Annual Meeting of the Association of Pacific Coast Geographers, San Bernardino, California,
October 5: “Nature’s Pilgrims: American Camping From 1869 to the 1990s”

     - Convivial Design in a Remote-Controlled World, Pomona College, Claremont, CA: “Parks,
Playgrounds and Beaches for the Millions”

     - Annual Meeting of the Association of American Geographers, Los Angeles, CA: “GIS and Public
Participation Planning: Recommendations from Hollywood, California”
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    - Annual Meeting of the American Society for Environmental History, Denver, CO: “Nature’s Pilgrims:
American Camping from 1869 to 1940”

2001 - Annual Meeting of the American Society for Environmental History, Durham, NC: “Culture, History,
and the Environmental Management of Cades Cove”

1999 - Biennial Meeting of the Society for American City and Regional Planning History, Washington, DC:
“Moral Order, Language, and the Failure of the 1930 Los Angeles Recreation Plan”

1998 - Roundtable on Landscape Architecture and the National Parks, Studies in Landscape
Architecture, Dumbarton Oaks, Washington, DC: “Ritual and Campgrounds in U.S. National Parks”

     - Annual Meeting of the Association of American Geographers (AAG), Boston, MA: “Parks,
Playgrounds, and Beaches: The Plan for a Healthy and Prosperous Los Angeles”

1997 - Annual Symposium, Studies in Landscape Architecture, Dumbarton Oaks, Harvard University,
Washington, DC: "Down the Garden Past”

     - Annual Meeting of the AAG, Fort Worth, TX: “The Ritual of American Camping”

    - Biennial Meeting of the American Society for Environmental History (ASEH), Baltimore, MD:
“Imagining the Profitable Greenhouse: Heating Adoption and the Florification of the American Urban
Landscape”

1996 - Annual Conference on DC Historical Studies, Washington DC: "The Message of Landscape"

    - Annual Meeting of the AAG, Charlotte, NC: "Administration, Development, and Access: The
American Civic Association's Motivations for a National Park Service"

     - Annual Meeting of the AAG, Charlotte, NC: "Nature as a Source of Goodness" (Panel)

   - Annual Symposium, Studies in Landscape Architecture, Dumbarton Oaks, Harvard University,
Washington, DC: "Virtue and Irony at Cades Cove"

1995 - Annual Meeting of the AAG, Chicago, IL: "The American Civic Association and the National Park
Service"

     - Biennial Meeting of the ASEH, Las Vegas, NV: "Moral Order and the Origins of the National Park
Service"

1993 - Annual Meeting of the AAG, Atlanta, GA: "Viewing the Wilderness, or Recognizing Determinism in
Two Environmental Movements"

1992 - Annual Meeting of the AAG, San Diego, CA: "Creating Nature: The Use of Succession as a
Technological Practice"

     - Moderator and presenter at a colloquium on the nursery business and landscape architecture
presented by Studies in Landscape Architecture, Dumbarton Oaks, Harvard University, Washington, DC.
Presentation title: "The Historic Relationship between the Business of Ornamental Horticulture and the Art
of Landscape Architecture"

1991 - Annual Meeting of the AAG, Miami, FL: "From Local to National Parks: The Changing Scale of an
American Interpretation of Nature"

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    - Fellows' Series at Dumbarton Oaks, Harvard University, Washington, DC: "`To Recognize the
Good in the New:' Technology and Landscape in Nineteenth Century California"

Invited Lectures & colloquia:

2020 – Keynote Speaker – “Outdoor Imaginaries: Camping in Modern America,” Tourist Imaginaries and
Mobility in the United States Conference, American Studies Program, University of Versailles Saint-
Quentin-en-Yvelines, Versailles, France, February 6

2019 – “’Roughing It Smoothly’: American Autocamping in the Early Twentieth Century,” Ohio University,
Athens, OH, November 5

     – “Modernity & Nature in America,” Dumbarton Oaks Graduate Seminar, Washington, DC, May 21

     – “Heading Out: To Walk in the Woods” at the Huntington Westerners, Pasadena, CA, May 4

2018 – “’Roughing It Smoothly’: The Appeal and Aftereffects of American Autocamping” at Montana State
University, November 1

     – “’Roughing It Smoothly’: The Appeal and Aftereffects of American Autocamping” at Idaho State
University, October 30

    – “To Feel at Home in the Wild: E.P. Meinecke’s Modern Autocampground” at Dumbarton Oaks,
Washington, DC, October 17

     – “Heading Out: To Walk in the Woods” at the Historical Society of Crescenta Valley, La Crescenta,
CA, August 20

     – “Heading Out: To Walk in the Woods” at the Pasadena Museum of History’s At Home Series, May
22

     – “Three California Connections” at Flintridge Bookstore, La Canada-Flintridge, CA, March 22

2017 – "Values, Conflicts and America's Protected Lands” at Department of Geography and
Environmental Studies, California State University San Bernardino, November 16 (for Geography
Awareness Week)

      – “The Value of Parks” in the District Planning and Compliance Course, California State Parks at the
California Citrus Historic State Park, Riverside, CA, October 9

     – “Fashionable Twaddle”: Murray's Rush and America’s First Camping Controversy” at the Kelly
Adirondack Center, Union College, Schenectady, NY, August 9

      – “Fashionable Twaddle”: Murray's Rush and America’s First Camping Controversy” for the public
lecture series of the Adirondack Experience, Blue Mountain Lake, NY, August 7

      – “Smoothing Out the Roughness: The Evolution of Camping Gear,” National Museum of American
History, Smithsonian Institution, Washington, DC, August 1

2014 – “Swept Up in ‘Murray’s Rush’: The Adirondack Beginnings of Camping in America” for the public
lecture series of the Adirondack Museum, Blue Mountain Lake, NY, July 28

2010 – “Camping: Between ‘Roughing It’ and Comfort” for Ontario Museum of History and Art, Ontario,
CA, July 8

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2008 – “The Meaning of Golden Gate Park” for the Studio for Urban Projects, San Francisco, CA,
October 18

      - “Into the Wild: William H.H. Murray and the Beginning of American Camping” for the public lecture
series of the Adirondack Museum, Blue Mountain Lake, NY, July 21

      – “The Garage in the Forest: E.P. Meinecke’s Modern Campground Program” for the Western
History Workshop, Autry Center for the American West, Los Angeles, CA, February 7

2007 – “Sequoias, Cars and the Transformation of Camping” for the California Historical Society, San
Francisco, CA, December 6

     – “Into the Wild” for the North American Environmental History Seminar, Huntington Library, San
Marino, CA, March 10


2006 – “Camping as American Palliative” for John Lyle Center for Regenerative Studies, Cal Poly
Pomona, May 25

      – “’A Recreation Ground for the Citizens’: Frederick Law Olmsted’s Abandoned San Francisco Park
Plan” for California Studies Association, UC Berkeley, CA, April 20

    - “A Park System for National Reform” for Pilgrim Congregational Church, Pomona, CA, February 7

2005 – “German Influences on the Nineteenth-Century Greenspace of San Francisco” for the German
Historical Institute and Bavarian American Academy, Munich, Germany, June 17

     – “A Park System for National Reform” for Ontario Museum of History and Art, Ontario, CA, May 25

2004 – “Building San Francisco’s Parks” for Strybing Arboretum at the Conservatory of Flowers, Golden
Gate Park, San Francisco, March 4

2003 – “Liberty, Nature, and Public Places in the Writings of Alexis de Tocqueville and Frederick Law
Olmsted”, a Liberty Fund colloquia, Oak Park, Illinois, October 23-26, which came with a $900.00 stipend
and all expenses paid.

     - “Historical Geography of San Francisco’s Parks” for California Council for the Humanities, San
Francisco, CA, June 25

     - “How Did We Get Here?: A Brief History of American Park Design” in Going Native: Planning and
Maintaining Parks for a Changing Los Angeles, a conference organized by the USC Center for
Sustainable Cities for the Los Angeles Department of Recreation and Parks, May 14

2001 – San Gabriel Valley Council of Governments, Industry, CA

     - Sierra Club, Angeles Chapter, West Los Angeles Group

2000 - Department of Geography, University of Southern California

     - Interdisciplinary Studies, California State University-Dominguez Hills

     - Sierra Club, Angeles Chapter, Pasadena Group

     - Sierra Club, Angeles Chapter, Palos Verdes/South Bay Group

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     - Historic Preservation Program, University of Southern California

1999 - University of California, Los Angeles, California Geographic Alliance, Institute for Teaching
Advanced Placement Human Geography

     - California State University-Hayward, Department of Geography

     - Texas A&M University, College Station, Department of Geography

     - Clemson University, Department of Parks, Recreation and Tourism Management

1998 - San Francisco State University, Department of Geography and Human Environmental Studies

1997 - Louisiana State University, Baton Rouge, Department of Geography and Anthropology

1996 - University of Delaware, Newark, History Workshop in Technology, Society, and Culture

     - Smithsonian Institution, Washington, DC, National Museum of American History

     - University of Maryland, College Park, Department of Geography

1995 - University of Tennessee, Knoxville, Department of Geography

     - Clemson University/Tri-County Technical College, Anderson, SC, SCUREF Program in
Environmental Education

1994 - Smithsonian Institution, Washington, DC, National Museum of American History

     - University of South Carolina, Spartanburg, Department of Psychology

1993 - University of South Carolina, Columbia, Department of Geography

     - Clemson University, Department of Parks, Recreation, and Tourism Management

1992 - University of Wisconsin, Madison, Department of Geography

1991 - University of California, Los Angeles, Folklore and Mythology Program

     - University of California, Los Angeles, Department of Geography

Commenter/Discussant

2019 – Session Title: ““Getting Here: Travel, Capitalism, and Leisure in the Evolving West,” Annual Meeting of
the Western History Association, Las Vegas, NV, October 18

2014 – Discussant concerning “925,000 Campsites,” an exhibit by Martin Hogue, SUNY-Syracuse at
WUHO, Woodbury University’s Hollywood Art Gallery, Los Angeles, California, October 5

2013 – Session Title: “Down and Out in Parks and Protected Areas: Social, Cultural and Historical
Approaches,” Annual Meeting of the Association of American Geographers, Los Angeles, California, April
10

2007 – Session Title: “Constructed Nature: Urban Parks as Public Space/Civic Culture – Historical
Perspectives,” Annual Meeting of the Association of American Geographers, San Francisco, California,
April 20
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2003 – Session Title: “Prehistoric Landscapes and Finite Resources,” Haynes Foundation Conference: A
Sustainable Future? Environmental Patterns and the Los Angeles Past, California Institute of Technology,
Pasadena, California, September 19. Available on the web at:
http://today.caltech.edu/theater/03_04/la_sustainability/

2000 - Session Title: “Playing Out-of-Doors between the Wars: The Role of Outdoor Recreation in Re-
creating American Nature, 1919-1945,” Annual Meeting of the American Historical Association, Chicago,
Illinois

1999 - Session Title: “When You Went to See Nature, What Did You See?,” Annual Meeting of the
American Society for Environmental History, Tucson, Arizona

Scholarly Fieldtrips

2007 – “Los Angeles Against the Mountains” at the annual meeting of the Association of Pacific Coast
Geographers, Long Beach, California, October 18

     - “The Great Sand Waste: An Historical Look at Golden Gate Park” at the annual meeting of the
Association of American Geographers, San Francisco, California, April 19


SERVICE

Departmental Assignments

2010 – 2013 – Departmental Website Administrator

Departmental Committees

2019 – DRTP member

2014 – 2020 – Chair, Faculty Presentations

2014 – 2019 – Chair, Temporary Faculty RTP

2007- 2009 – Policies and Procedures

2002-2007 – Computer Lab Committee

2002-2003 – Ad Hoc Committee on Combining GEO 200 and GEO 461

College Committees

2012 – 2013, 2014 - 2015 – CLASS RTP Committee

2003-2006, 2007- 2010 – Curriculum (co-member from our department with Michael Reibel in 2003-04)

2004-2006 – International Education Committee

University Committees

2002-2006, 2007 - 2013 – Course Grade Appeals

2003-2005 – Faculty/Staff Affairs
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2002-2003 – Outstanding Staff Awards

Ph.D. Committees

Robert Dye, Department of Parks, Recreation and Tourism Management, Clemson University, Clemson,
SC

Kathleen Mengak, Department of Parks, Recreation and Tourism Management, Clemson University,
Clemson, SC


M.A./M.S./M.L.A. Committees

Angelica Rocha, Regenerative Studies Program, California State Polytechnic University – Pomona (Co-
chair of committee) (MS awarded 2019)

Norma Saldana, Regenerative Studies Program, California State Polytechnic University – Pomona (MS
awarded 2019)

Crystal Weintrub, Regenerative Studies Program, California State Polytechnic University – Pomona (MS
awarded 2014)

Rachel Boldt (nee Camp), Regenerative Studies Program, California State Polytechnic University –
Pomona (Chair of committee) (MS awarded 2012)

April Garbat, Department of Landscape Architecture, California Polytechnic State University – Pomona
(MLA awarded 2011)

Jacob Feldman, Regenerative Studies Program, California State Polytechnic University – Pomona (MS
awarded 2011)

Martin Hogue, Department of Landscape Architecture, University of Toronto (MLA degree awarded 2010)

Leslie Johnson, Department of Art, California State University – Long Beach (MA degree awarded 2007)

Doug Kent, Regenerative Studies Program, California State Polytechnic University – Pomona (MS degree
awarded 2006)

Keith Miller, Department of Geography, California State University – Long Beach (MA degree awarded
2003)

Undergraduate Support

McNair Scholars Program, California State Polytechnic University – Pomona, Advisor for Jennifer
Stevens, 2004-2005

McNair Scholars Program, California State Polytechnic University - Pomona, Advisor for Stephanie
Marley, 2003-2004

Presentations Organized:

Individuals:

2017 - Professor Gert Gröning from the Institute for the History and Theory of Design, University of the
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Arts, Berlin, Germany to present a public lecture at California State Polytechnic University – Pomona
entitled “Aspects of the Creation of the Prince Pűckler Estate at Bad Muskau, Germany – A UNESCO
World Heritage Site”

   - Professor Brian Pompeii from the California Polytechnic State University, San Luis Obispo to present
a public lecture at California State Polytechnic University – Pomona entitled “Unmet needs in a creeping
hazard: The Great California Drought in Tulare County”

2015 - Professor Gert Gröning from the Institute for the History and Theory of Design, University of the
Arts, Berlin, Germany to present a public lecture at California State Polytechnic University – Pomona
entitled “Allotment Gardens in Germany”
   - Professor Lary Dilsaver from the University of South Alabama, Mobile, AL to present a public lecture
at California State Polytechnic University – Pomona entitled “The Evolving Perception of Arid Lands and
the Management of Joshua Tree National Park”

2003 – Professor Gert Gröning from the Institute for the History and Theory of Design, University of the
Arts, Berlin, Germany to present a public lecture at California State Polytechnic University – Pomona
entitled, “Nazism and Landscape Architecture, A Strange Connection” as well as studios in the
Landscape Architecture Department. Co-organized with Professor Joan Woodward, Department of
Landscape Architecture.

1998 - Professor Edward Casey from the Department of Philosophy, State University of New York, Stony
Brook to give a lecture at the Annual Meeting of the Association of American Geographers, Boston, MA.
Professors J. Nicholas Entrikin (Geography, UCLA), Edward Relph (Geography, University of Toronto),
and Edward Soja (Urban Planning, UCLA) responded.

1994 - Professor Gert Groening from the Fachbereich Architektur, Hochschule der Kuenste Berlin,
Germany to give a lecture at Clemson University on Nazi ideology and landscape architecture.

Series:

2010 – “Sustainability and …”, An eight week series of speakers during spring quarter for the John T. Lyle
Center for Regenerative Studies, California Polytechnic University – Pomona

Group:

2017 – “People, Politics, and Place in the Historic Shaping of America’s Western National Parks” (One
session of four speakers and a discussant) at the biennial meeting of the George Wright Society, Norfolk,
VA, April 3

2015 – “The Many Consequences of Seeing ‘Nature’” (One session of five speakers) at the biennial
meeting of the George Wright Society, Oakland, CA, March 30

2015 – “The Internationalization of Nature Protection in North America” (One session of four speakers
and a discussant) at the annual meeting of the American Society for Environmental History, Washington,
DC, March 21

2013 – “Bargaining with Distant Places: Historical and Cultural Aspects of Real and Virtual Travel” (One
session of 4 speakers and a discussant) at the annual meeting of the Association of American
Geographers, Los Angeles, CA, April

2011 – “Seeing the Park in the Trees: Historical Approaches to Parks and Protected Areas” (One session
of 5 speakers) co-organized with Yolonda Youngs, Oklahoma State University) at the annual meeting of
the Association of American Geographers, Seattle, WA, April 13

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2010 – “To Protect and Serve: Explorations into the Nature-Culture Dialectic in America” (Four sessions
of 16 speakers co-organized with Yolonda Youngs, Oklahoma State University and Geoff Buckley, Ohio
University) at the annual meeting of the Association of American Geographers, Washington, DC, April 16

2009 – “Parks Gone Wild: Exploring the Boundaries of Nature Protection” (Two sessions of 8 speakers
co-organized with Yolonda Youngs, Arizona State University) at the annual meeting of the Association of
American Geographers, Las Vegas, NV, March 24

2008 – “Conversations with the Arch Amenity” (Three sessions of 12 speakers co-organized with Yolonda
Youngs, Arizona State University) at the annual meeting of the Association of American Geographers,
Boston, MA, April 18
     – “The Shifting Good of National Parks” at the annual meeting of the American Society for
Environmental History, Boise, ID, March 14

2007 – “Going Wild, Going Out of Bounds: Reshaping the American Encounter with Wilderness” (co-
organized with Yolonda Youngs, Arizona State University) at the annual meeting of the Association of
Pacific Coast Geographers, Long Beach, CA, October 20

     - “North American Parks and Protected Areas” (Three sessions of 12 speakers co-organized with
Yolonda Youngs, Arizona State University) at the annual meeting of the Association of American
Geographers, San Francisco, California, April 21

2005 – “Ideology and Recreational Environments” at the annual meeting of the American Society for
Environmental History, Houston, Texas, March 19.

2004 – “Natural Camps, Natural Scenes and Naturists: Popular Environmentalism in the 1930s and Beyond” at the
annual meeting of the American Society for Environmental History, Victoria, BC, April 2.

2003 – “Desire, Escape, Identity, and Relevance: The Allure and (Ab)use of Tourist and Recreational
Environments” at the Annual Meeting of the Association of American Geographers, New Orleans, LA,
March 5.

2002 – “Suburbanization in Southern California” at the Annual Meeting of the California Studies
Association, San Juan Capistrano, CA

2002 - “Managing the Rivers and Coast of Southern California” at the Annual Meeting of the California
Studies Association, San Juan Capistrano, CA

2002 - “Toward a Sustainable Los Angeles: A ‘Nature’s Services’ Approach” at the Annual Meeting of the
Association of American Geographers, Los Angeles, CA

1996 - "Accessing America's Parks" at the Annual Meeting of the Association of American Geographers
(AAG), Charlotte, NC

1996 - "The Uses of Nature" at the Annual Meeting of the AAG, Charlotte, NC

1993 - "Rethinking Environmental Determinism: New Perspectives on a Geographical Taboo" at the
Annual Meeting of the AAG, Atlanta, GA

Manuscripts and proposals reviewed for:

Agricultural History
Association of Pacific Coast Geographers Yearbook
California History
Center for American Places/University of Chicago Press
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cultural geographies
Ecumene
Environmental History
Gender, Place and Culture
Geographical Review
GeoJournal
Historical Geography
Journal of Cultural Geography
Journal of Historical Geography
Journal of Planning History
Journal of Urban Design
Land Use Policy
Landscape Journal
Landscape Research
Louisiana State University Press
National Science Foundation
Pacific Historical Review
Park Stewardship Forum
Philosophy and Geography
Society and Space
Studies in the History of Gardens and Designed Landscapes
US National Park Service
University of Massachusetts Press
University of Virginia Press
Western Historical Quarterly

Other

2021-present – Member, Publications Committee, George Wright Society

2020-present – Vice Chair, Protected Areas Specialty Group, American Association of Geographers

2013-2017 – Member, Editorial Board, Environmental History

2013-2014 – Local Arrangements Committee for American Society for Environmental History’s 2014
annual meeting in San Francisco, CA

2012-2013 – Local Arrangements Committee for Association of American Geographers 2013 annual
meeting in Los Angeles, CA

2008-2011 – Publications Committee, Association of American Geographers

2006-2007 – WINGS Advisory Board, Earth Science and Anthropology Department, Los Angeles Valley
College, Valley Glen, CA (Project funded by USDA)

2003-2004 – Program Committee for the 2004 meeting of the California Studies Association, Loyola
Marymount University, Westchester, California

2002-2006 – Steering Committee, California Studies Association

2002 - Program Committee for the annual meeting of the Association of American Geographers, Los
Angeles, California

2002 - Program Committee for the annual meeting of the California Studies Association, Orange County,
California
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2001 - Member, Technical Advisors, World of Ecology Exhibition, Los Angeles County Museum of Natural
History

2001 - Program Committee for the annual meeting of the American Society for Environmental History,
Durham, North Carolina

1999 to 2008 - Editorial Board, Historical Geography

1995 to 1999 - Book Review Editor, Historical Geography

1996 - Member, Teller Committee, Association of American Geographers

1994 to 1998 - Director & Awards Committee Chair, AAG-Cultural Geography Specialty Group

1993 to 1995 - Bibliographic compiler for the AAG-Historical Geography Specialty Group newsletter, Past
Place

1993-1994 - Judge for the AAG-Historical Geography Specialty Group student paper competition

1993-1994 - Judge for the AAG-Cultural Geography Specialty Group student paper competition

PROFESSIONAL MEMBERSHIPS

American Society for Environmental History
American Association of Geographers
Association of Pacific Coast Geographers
European Society for Environmental History
George Wright Society




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